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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 300A

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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                                         5018

     Внутренняя политика

     Александр Ионов обладает крупными внутрироссийскими связями по линии
     общественных и политических организаций.

     На еженедельной основе проходят мероприятия по линии Международного комитета
     защиты прав человека, Академии Будущего, Международного конгресса
     промышленников и предпринимателей и ВОО «За реальные дела». Также работает
     международный клуб Амикабилити.

     В сетке мероприятий:
     - круглые столы с представителями молодежных общественных объединений
     - конференции с привлечением послом и других работников дипломатических миссий
     иностранных государств (недавно прошли круглые столы с участием послов КНДР,
     Сирии, Ирака и Зимбабве, на этой неделе планируется мероприятие с послом Зимбабве)
     - в рамках Академии Будущего проходят еженедельные лекции, на которых присутствует
     порядка 60 человек

     20 июня на базе Дома общественных организаций пройдет круглый стол на тему
     вынужденной миграции, мероприятие будет посвящено Дню беженца. В качестве
     спикеров приглашены представители профильных министерств и ведомств,
     правозащитники, активисты негосударственных организаций и граждане, получившие
     статус беженца (Сирия, Украина)
     Круглый стол будет модерировать Александр Ионов


     Также наша команда обладает большим ресурсом в социальных сетях (вконтакте,
     интаграмм и фейсбук)

     https://m.vk.com/academia_del_futuro

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     https://m.vk.com/anti_usa_news
